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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  HUNTINGTON DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,

v.                                                   CRIMINAL ACTION NO. 2:00-cr-00222-05

DONALD McKAY HALE, JR.,

                              Defendant.


                  MEMORANDUM OPINION AND JUDGMENT ORDER

       Pending before the Court is a motion, brought pursuant to 18 U.S.C. § 3582(c)(2), to reduce

Defendant’s sentence based on a subsequent reduction in the applicable sentencing guideline. On

November 1, 2007, the United States Sentencing Guidelines were amended to reduce by two levels

the guidelines in Section 2D1.1 for cocaine base (also known as crack). Subsequently, the

Sentencing Commission amended Section 1B1.10 to make the crack amendment retroactive,

effective March 3, 2008. Pursuant to a Standing Order entered on February 6, 2008, this case was

designated for Expedited consideration.

       The Court has received and considered the original Presentence Investigation Report (PSI),

original Judgment and Commitment Order and Statement of Reasons, plea agreement, and

addendum to the PSI from the Probation Office, and received any materials submitted by the parties

on this issue. The Court has also considered the applicable factors under 18 U.S.C. § 3553(a),

consistent with § 3582(c)(2), and public safety.

       The defendant’s original offense conduct resulted in a base offense level of 32 and a criminal

history category of I. Two levels were added for possession of a firearm, two levels were subtracted
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for role in the offense, and two levels were added for obstruction of justice, for a total offense level

of 34. His original guideline range was 151 to 188 months. Based on the sentencing factors set forth

in 18 U.S.C. § 3553(a), the Court sentenced the defendant within the Guideline Sentencing Range

to 151 months imprisonment.

       If the court applies the amended Guidelines to this case, the defendant’s new base offense

level would be 30, and his total offense level would be 32. An offense level of 32 and a criminal

history category of I results in a guideline range of 121 to 151 months imprisonment. The United

States has indicated that it does not object to a two-level reduction in the defendant’s sentence.

       Based on the foregoing considerations, the Motion is GRANTED. The Court ORDERS that

the defendant’s base offense level be reduced by two levels, resulting in a new total offense level

of 32, and a guideline range of 121 to 151 months. It is further ORDERED that Defendant’s

previous sentence be reduced to a period of 121 months, with credit for time served to date pursuant

to U.S.S.G. 1B1.10(b)(2)(C).

       The Court DIRECTS the Clerk to send a copy of this Order to the defendant and counsel,

the United States Attorney, the United States Probation Office, the Federal Bureau of Prisons and

the United States Marshals.

                                                        ENTER:          April 15, 2008




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